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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

WHITE GLOVE STAFFING, INC., §
CAROLYN CLAY, LINDEY DANCEY, §
KAMARIO SIMPSON, and LEA REED, §
Individually and on Behalf of a

Class of Similarly Situated Individuals

Plaintiffs,

CIVIL ACTION NO. 3:17-ev-01158-K
v.

METHODIST HOSPITALS OF
DALLAS, AND DALLAS METHODIST
HOSPITALS FOUNDATION

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Defendants.

 

DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

 

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

COME NOW, Methodist Hospitals of Dallas and Dallas Methodist Hospitals Foundation
(“Defendants”), Defendants in the above entitled and numbered cause, and file this their Partial
Motion for Summary Judgment pursuant to Federal Rule of Civil Procedure 56, and for same
would respectfully show the Court as follows:

I.
STATEMENT OF THE CASE

This is a case in which Plaintiffs allege Defendants had a preference for having Hispanic
individuals work in the kitchen at Methodist Dallas Medical Center (“Methodist”). Plaintiffs
further allege that, as a result of this alleged preference, Defendants (1) refused to enter contracts
with White Glove Staffing, Inc. (“White Glove”) because White Glove employs individuals that
are not Hispanic and (2) refused to employ Carolyn Clay (African American), Lindey Dancey

(African American), Kamario Simpson (African American), and Lea Reed (African American)

 

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because they are not Hispanic. White Glove has asserted a retaliation claim under 42 U.S.C.
§ 1981. Clay, Dancey, Simpson, and Reed have asserted claims of race, color, and national
origin discrimination under Title VII, Chapter 21 of the Texas Labor Code, and 42 U.S.C.
§ 1981.

Defendants move for summary judgment pursuant to Rule 56 of the Federal Rules of
Civil Procedure, from the relief demanded from (1) both Defendants by Plaintiffs Simpson,
Reed, Dancey and White Glove; and (2) Defendant Dallas Methodist Hospitals Foundation by
Plaintiff Clay.' There are no genuine issues as to any material fact with regard to these
Plaintiffs’ claims. Defendants are entitled to judgment as a matter of law because there is no
evidence to sustain one or more essential elements of each of these Plaintiffs’ claims pled herein
and because Defendants’ summary judgment evidence conclusively establishes that it is entitled
to summary judgment on all of these Plaintiffs’ claims. Defendants state that each of the matters
required by Local Rule 56.3(a) of the Local Civil Rules for the United States District Court for
the Northern District of Texas will be set forth in Defendants’ Brief in Support of its Motion for
Summary Judgment.

Il.
ALLEGATIONS OF LIABILITY

In Plaintiffs’ Second Amended Class Action Complaint they assert the following causes

of action: .
1. that Defendants retaliated against White Glove by refusing to let Clay work at
Defendants’ facilities and by terminating contractual negotiations with White Glove
because White Glove refused to remove Clay as a temporary staffing employee from

Defendants’ facilities in violation of 42 U.S.C. § 1981; and

 

1 Defendant Methodist Hospitals of Dallas does not seek summary judgment as to the Title VII, Chapter 21, and
Section 1981 claims asserted by Plaintiff Carolyn Clay, except for Clay’s claim for exemplary damages.

 

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2. that Defendants discriminated against Plaintiffs Clay, Dancey, Simpson, and Reed

because of race, color, and national origin in violation of Title VII, Chapter 21 of the

Texas Labor Code, and 42 U.S.C. § 1981.

Il.

DEFENDANT’S EVIDENCE IN SUPPORT OF ITS MOTION

In support of this Motion, Defendants rely upon:

A. The Affidavit of Nicole L. Tong, attached to the Appendix to this Motion for Summary

Judgment and fully incorporated herein, which includes the following attachments:

1.

2.

10.

11.

Plaintiff's Second Amended Class Action Complaint (Exhibit “A”);

Defendants’ Original Answer to Plaintiffs’ First Amended Class Action Complaint
Subject to Defendants’ 12(b)(6) Motion to Dismiss (Exhibit “B”);

Excerpts of the deposition of Linda White, taken on November 2, 2017 (Exhibit “C”);

Excerpts of the deposition of Michael White, taken on November 1, 2017
(Exhibit “D”);

Excerpts of the deposition of Shawn White, taken on November 1, 2017
(Exhibit “E”);

Excerpts of the deposition of Carolyn Clay, taken on November 10, 2017
(Exhibit “F”);

Excerpts of the deposition of Jeff Jennings, taken on October 20, 2017(Exhibit “G”);

Excerpts of Plaintiff White Glove’s First Amended Responses to Defendant’s First
Interrogatories (Exhibit “H”);

Charge of Discrimination filed by Carolyn Clay, signed June 27, 2016 (produced by
White Glove as WHITE GLOVE 00001) (Exhibit “T”);

Charge of Discrimination filed on behalf of White Glove Staffing, Inc., signed July
11, 2016 (produced by White Glove as WHITE GLOVE 00002-0003) (Exhibit “J”);

Charge of Discrimination filed on behalf of White Glove Staffing, Inc., signed
August 25, 2016 (produced by White Glove as WHITE GLOVE 00004-0005)
(Exhibit “K”);

 

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12. Plaintiff Lindey Dancey’s Responses to Defendant Methodist Hospitals of Dallas’
First Request for Admission (Exhibit “L”);

13. Plaintiff Kamario Simpson’s Responses to Defendant Methodist Hospitals of Dallas’
First Request for Admission (Exhibit “M”); and

14. Plaintiff Lea Reed’s Responses to Defendant Methodist Hospitals of Dallas’ First
Request for Admission (Exhibit “N”).

IV.
GROUNDS FOR SUMMARY JUDGMENT

Defendants seek summary judgment on the grounds that there is no evidence of the
following essential elements of each of the following claims:

1. White Glove cannot establish a claim for retaliation under 42 U.S.C. § 1981 because
there is no evidence of any causal link between a protected activity by White Glove and
Defendants’ adverse action;

2. Dancey, Simpson, and Reed cannot establish the second, third, or fourth elements of a
prima facie case for race, color, or national origin under Title VII, the Texas Labor Code,
or 42 U.S.C. § 1981 because there is no evidence they were qualified for the position
sought or held, they were subjected to an unfavorable personnel action, or they were
replaced by someone outside the protected class;

3. Clay cannot establish the second, third, or fourth elements of a prima facie case for race,
color, or national origin under Title VII, the Texas Labor Code, or 42 U.S.C. § 1981
against Dallas Methodist Hospitals Foundation because there is no evidence she was
qualified for a position sought or held with Dallas Methodist Hospitals Foundation, she
was subjected to an unfavorable personnel action by Dallas Methodist Hospitals

Foundation, or she was replaced by someone outside the protected class; and

 

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4. None of the Plaintiffs can establish a right to exemplary damages because there is no

evidence Defendants acted with malice or conscious indifference to Plaintiffs’ state or

federally protected rights.

Defendants further seek summary judgment on the grounds that the summary judgment

evidence conclusively establishes the following:

1.

There is no causal link between a protected activity by White Glove and the alleged
adverse action, so White Glove cannot assert a claim under 42 U.S.C. § 1981;

Dancey, Simpson, and Reed failed to exhaust administrative remedies, so they cannot
assert a claim for race, color, or national origin under Title VII or the Texas Labor Code;
Dancey, Simpson, and Reed never sought or obtained an employment relationship with
either Defendant so they cannot assert a claim for race, color, or national origin under
Title VII or the Texas Labor Code; and

Dancey, Simpson, and Reed never sought or obtained a contractual relationship with
either Defendant, so they cannot assert a claim for race, color, or national origin under 42
USS.C. § 1981.

V.
PRAYER

WHEREFORE, PREMISES CONSIDERED, Defendants Methodist Hospitals of

Dallas and Dallas Methodist Hospitals Foundation respectfully pray that the Court, upon notice

and hearing, grant their Partial Motion for Summary Judgment and enter judgment that Plaintiff

White Glove Staffing, Inc., Lindy Dancey, Kamario Simpson, and Lea Reed recover nothing of

or from these Defendants on the claims asserted by them concerning their allegations in this

lawsuit; that Plaintiff Carolyn Clay recover nothing of or from Defendant Dallas Methodist

Hospitals Foundation on the claims asserted by her concerning her allegations in this lawsuit;

and that Plaintiffs recover nothing of or from these Defendants on their exemplary damages

 

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claims. Defendants further pray for costs of Court and for such other and further relief, both

general and special, to which they may show themselves justly entitled.

Respectfully submitted,

BURFORD & RYBURN, L.L.P.

/s/ Simon D. Whiting
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ATTORNEYS FOR DEFENDANTS
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DALLAS METHODIST FOUNDATION

CERTIFICATE OF SERVICE

I hereby certify that I electronically submitted the foregoing document with the Clerk of
Court for the United States District Court, Northern District of Texas, using the electronic case
file system of the Court. I hereby certify that I have served all counsel and/or pro se parties of
record electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).
DATED: June 1, 2018.

/s/ Nicole L. Tong
NICOLE L. TONG

 

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